














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0450-13





JUAN GILBERT, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE EIGHTH COURT OF APPEALS

TARRANT COUNTY





Per curiam. KEASLER and HERVEY, JJ., dissent.

ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i), 
because the petition does not contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.



Filed:  July 24, 2013

Do Not Publish


